
Rao, C.J. In accordance with stipulation of counsel that the items of merchandise marked “A” covered by the foregoing protests consist of brass pole ends similar in all material respects to those the subject of J. C. DeJong &amp; Co., Inc. v. United States (52 CCPA 26, C.A.D. 852), and that the items of merchandise marked “B” consist of brass holders, portier hooks, portier brackets, curtain roses, portier hooks with sliplock holders, finials, curtain holdbacks with sliplock holders, sliplock holders and extension rods, and tie-back hooks, not plated with platinum, gold, or silver or colored with gold lacquer, chiefly used as household utensils, and following the principles in C.A.D. 852, supra, and Kroder Reubel Co., Inc., and Alltransport, Inc. v. United States (44 Cust. Ct. 274, C.D. 2186), the claim of the plaintiff was sustained.
In accordance with stipulation of counsel that the items of merchandise marked “A” covered by the foregoing protests consist of brass pole ends similar in all material respects to those the subject of J. 0. DeJong &amp; Go., Inc. v. United States (52 CCPA 26, C.A.D. 852), and that the items of merchandise marked “B” consist of brass holders, portier hooks, portier brackets, curtain roses, portier hooks with sliplock holders, finials, curtain holdbacks with sliplock holders, sliplock holders and extension rods, and tie-back hooks, not plated with platinum, gold, or silver or colored with gold lacquer, chiefly used as household utensils, and following the principles in C.A.D. 852, supra, and Kroder Beubel Go., Ine., and ATltransport, Inc. v. United States (44 Cust. Ct. 274, C.D. 2186), the claim of the plaintiff was sustained.
